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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEREK KHANNA, individually and derivatively  )
on behalf of Shimbly Corporation,            )
                                             )
         Plaintiff,                          )
                                             )                   Case No. 21-cv-5752
v.                                           )
                                             )                   Hon. Judge Virginia M. Kendall
                                             )                   Magistrate Judge Susan E. Cox
KATELYNN BANKS, et al.,                      )
                                             )                   JURY TRIAL DEMANDED
         Defendants.                         )
____________________________________________ )

 PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN SUPPORT OF MOTION FOR
  RULE 37(b)(2) SANCTIONS AND FOR RULE TO SHOW CAUSE (DOC. NO. 90)

       Plaintiff Derek Khanna, individually and derivatively on behalf of Shimbly Corporation

(“Plaintiff”), by and through his undersigned counsel, hereby files his Supplemental Memorandum

in Support of his Motion for Rule 37(b)(2) Sanctions and for Rule to Show Cause as to Why

Defendants Should Not Be Held in Contempt for Multiple Violations of This Court’s 11/9 Order

(the “Motion for Sanctions,” Doc. No. 90), and in further support thereof states as follows:

                                        INTRODUCTION

       Plaintiff is filing this Supplemental Memorandum in order to update the Court regarding

the parties’ efforts to meet-and-confer regarding the discovery deficiencies on which Plaintiff’s

Motion for Sanctions is based. (See Order of 2/3/23 (the “2/3 Order”) (requiring the parties to

“meet and confer regarding remaining issues” raised in the Motion for Sanctions). Unfortunately,

despite Plaintiff’s repeated efforts to meet-and-confer as ordered by the Court, Defendants have

failed to undertake any efforts whatsoever to do so, or even respond to Plaintiff’s efforts.




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       At the 2/3/23 hearing, Defendants’ counsel represented that he needed additional time to

respond to the Motion for Sanctions because he “inherited this case” and was hindered by an ice

storm in the Dallas area, where he resides and works. As discussed below, however, Defendants’

counsel has been involved in the parties’ dispute long before he appeared in this case, and he had

many months to comply with the 11/9 Order in any event.

       The Court agreed to give the parties additional time to meet-and-confer, and memorialized

that directive in the 2/3 Order. On February 9, 2023, Plaintiff’s counsel initiated that process by

sending a letter that detailed Defendants’ non-compliance with the 11/9 Order and posed specific

issues and inquiries for the parties to address to narrow the pending discovery issues.

       Defendants, however, failed to respond to that letter, or to Plaintiff’s counsel’s subsequent

inquiries, in direct violation of the 2/3 Order. Nor have Defendants made any affirmative efforts

to meet-and-confer as ordered. Simply (and accurately) stated, Defendants has failed to undertake

any efforts whatsoever to meet-and-confer with Plaintiff as ordered by the Court.

       Also, Defendants’ contemptuous failures have resulted in evidence spoliation. Plaintiff’s

Motion for Sanctions discusses the known spoliation that already has occurred (Doc. No. 90, at

pp. 10-11), and spoliation continues with each passing day of Defendants’ non-compliance. One

recent example involves Shimbly’s project-management system, on a platform called Wrike,

which the Court compelled in the 11/9 Order. The Wrike account now appears to have been

deleted as of February 26, 2023, almost four months after the 11/9 order, over one month after

Plaintiff filed the Motion for Sanctions, and weeks after Plaintiff’s counsel sent a letter (on

February 9, 2023, as discussed below) specifically warning about the impending deletion of the

Wrike account and requesting Defendants to preserve it, all of which were ignored by Defendants.




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        Plaintiff respectfully submits that Defendants’ ongoing failures to meet-and-confer and/or

respond to Plaintiff’s efforts – for almost five (5) weeks after the 2/3 hearing – is in direct violation

of the 2/3 Order, which unfortunately continues the pattern of contemptuous conduct that

necessitated the Motion for Sanctions in the first instance. Accordingly, Plaintiff respectfully

requests that the Court include Defendants’ recent and ongoing non-compliance as an additional

ground on which to order stringent sanctions against Defendants’ contemptuous conduct that has

stalled discovery and caused this case to languish since Plaintiff served his document requests

almost one year ago, on April 8, 2022, despite (and in violation of) the 11/9 Order compelling

production of specific missing documents.

CHRONOLOGY OF DEFENDANTS’ CONTINUED CONTEMPTUOUS MISCONDUCT

A.      At the 2/3/23 Hearing, Defendants Promised to Engage in Meet-and-Confer
        Discussions Regarding Their Failures to Comply With the Court’s 11/9 Order.

        On February 3, 2023, the Court held a hearing to address Plaintiff’s Motion for Sanctions

and address the parties’ respective positions. At the hearing, Defendants’ counsel focused on the

need to engage in additional meet-and-confer discussions in order to attempt to address and narrow

the multiple independent discovery deficiencies raised by Plaintiff’s Sanctions Motion.

        Specifically, Defendants’ counsel stated that he “understand[s] why [Plaintiff’s counsel]

felt the need to file this motion.” (Sterling Aff., Exh. A attached hereto, at Exh. 1, 9:6-7.) As he

explained, “it’s partly because we keep running up to the end of the fact discovery deadline, and

we’re having to go through and just – we both want to get everything out in the open and on the

table and – so we can move on and finish up depositions.” (Id. at 9:8-12.) Towards that purported

end, Defendants’ counsel stated that “it would be helpful if we just went ahead and put a briefing

schedule in place, because I think by the time we get to – if this Court would do that, I think by

the time we get through the motion, we would drastically narrow down the issues.” (Id. at 10:17-

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21.) Defendants’ counsel then concluded by stating that he and Plaintiff’s counsel “have a very

productive relationship on getting these things through. And the pressure right now that I know

that [Plaintiff’s counsel] is feeling is that all of that is great, but if we run up into the end of the

discovery deadline, he’s in a bad position.” (Id. at 11:17-21.)

B.      At and After the 2/23/23 Hearing, the Court Ordered the Parties to Meet and Confer
        Regarding the Issues Raised by Plaintiff’s Motion for Sanctions.

        After hearing Defendants’ counsel’s commitment to cooperate and meet-and-confer, the

Court agreed to “enter and continue the motion to compel [to sanction] for four weeks. So you

work together with trying to give him what he’s requesting.” (Id. at 12:1-2.) The Court further

held that “I’ll have a status hearing with you in four weeks. At that status hearing, you can tell me

what’s left. If there are still items that are left, we will have you respond to that in your written

response, and I’ll deal with it.” (Id. at 12:3-6.)

        The Court then entered an order requiring the parties “to meet and confer regarding

remaining issues.” (Doc. No. 96.) Accordingly, the Court entered and continued Plaintiff’s

Motion for Sanctions for five weeks, to March 10, 2023, when the parties were expected to discuss

their progress in meeting and conferring to resolve and narrow the discovery issues. (Id.)

C.      Despite Plaintiff’s Repeated Efforts, Defendants Failed to Engage in Any Meet-and-
        Confer Discussions or Produce Any of the Missing or Spoliated Documents.

        In accordance with the Court’s directive, Plaintiff’s counsel sent a letter to Defendants’

counsel on February 9, 2023 (the “2/9/23 Letter”). (Sterling Aff., Exh. A attached hereto, at Exh.

2.) In that letter, Plaintiff’s counsel began by stating as follows: “I appreciate that the parties have

committed to work together and attempt to resolve/narrow issues before the hearing on March 10,

2023. To further our efforts, I am writing to list specific issues that we need to address, and attempt

to resolve, for each of the document categories discussed in the sanctions motion.” (Id. at p. 1.)



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       Plaintiff’s counsel’s letter then detailed the five (5) specific categories of documents

compelled by the Court in its 11/9 Order, and asked specific questions based on the parties’ prior

communications regarding each of those categories. (Id. at pp. 1-5.) The letter concluded by

seeking Defendants’ counsel’s “prompt responses to the above issues and inquiries, so that the

parties have a fair opportunity to address and potentially resolve at least some of the issues raised

by the pending motion.” (Id. at p. 5.)

       Unfortunately, Defendants’ counsel opted to ignore Plaintiff’s counsel rather than meet-

and-confer. Defendant’s counsel never responded to Plaintiff’s 2/9/23 letter. Nor did Defendants’

counsel respond to Plaintiff’s counsel’s follow-up inquiries. On February 28, 2023, Plaintiff’s

counsel sent an email informing Defendants’ counsel that “I haven’t heard back in response to my

2/9 letter. We are almost one month since the 2/3 hearing, and quickly approaching the 3/10 status

hearing, with no real progress on addressing the issues raised in the pending sanctions motion.

That was the purpose of my 2/9 letter – to list the issues and tee up a discussion, hopefully

involving our clients. However we are running out of time to make meaningful progress before

the hearing.” (Sterling Aff., Exh. A attached hereto, at Exh. 3.)

       Defendants’ counsel did not respond to that inquiry, or initiate any meet-and-confer efforts

as ordered, and now the parties are out of time to make meaningful – or any – progress. Worse,

Defendants’ failures and contempt have resulted in the spoliation of evidence. Plaintiff’s Motion

for Sanctions discusses some of the spoliation about which Plaintiff knows (Doc. No. 90, at pp.

10-11), and spoliation risks and realities continue to intensify. One recent example involves the

Wrike project-management system, which appears to have been permanently deleted as of

February 26, 2023, long after the 11/9 order and Plaintiff’s Motion for Sanctions. As discussed in

the Motion for Sanctions, the Wrike account was deleted as of August 26, 2022. (Doc. No. 90, at



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p. 10.) Plaintiff then received notice that Wrike would delete Shimbly data six (6) months

thereafter, on February 26, 2023, and in the 2/9 Letter, Plaintiff’s counsel specifically warned

Defendants’ counsel about that impending deletion. (Sterling Aff., Exh. A attached hereto, at Exh.

4, p. 4.) Nevertheless, Defendants did nothing to preserve the Wrike account. Plaintiff’s ongoing

and severe prejudice, in other words, has become irreparable.

       Accordingly, Plaintiff respectfully submits that Defendants’ total failures to initiate any

discussions or even respond to Plaintiff’s efforts – including in Plaintiff’s 2/9/23 Letter and 2/28/23

email – violate the Court’s 2/3/23 Order directing that the “Parties are to meet and confer regarding

remaining issues.” (Doc. No. 96.) This violation, moreover, is part of a pattern that required

Plaintiff to file his Motion for Sanctions. (See Doc. No. 90, at pp. 2-4) (setting forth the chronology

of Defendants’ failures to produce and comply with the Court’s 11/9 Order).

       There also is no cognizable excuse (let alone substantial justification) for Defendants’ total

non-responsiveness and non-compliance with the Court’s 2/3/23 Order. The same is true for

Defendants’ counsel’s initial excuse for violating the 11/9 Order, that he needed more time because

he recently “inherited this case,” and that he had insufficient time to address Plaintiff’s discovery

issues due to an ice storm in Dallas, where he works and resides. (Sterling Aff., Exh. A attached

hereto, at Exh. 1, at 6:14-16, 10:2-13.) In fact, Defendants’ counsel “inherited this case” long ago,

when he filed his appearance on October 20, 2022. (Doc. No. 62.) In addition, Defendant’s current

counsel was directly involved in the parties’ dispute a year and a half before he filed his

appearance in this case, as long ago as April 7, 2021, when he filed an opposition to a motion to

dismiss a lawsuit filed by his spouse (Kaitlyn Coker) against Plaintiff in Cook County Circuit

Court on January 7, 2021. (Sterling Aff., Exh. A attached hereto, at Exh. 4.) That since-dismissed

lawsuit asserted (in fact, virtually copied and pasted) many of the same allegations on which



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Defendant Banks bases her unclean-hands defense in this case. (Compare Complaint at Law, Case

No. 2.21-L-000211, Sterling Aff., Exh. A attached hereto, at Exh. 5, ¶¶ 6-15, with Defendant

Banks’s Affirmative Defense, Doc. No. 37, at pp. 56-59, ¶¶ 6-15.)

       Defendants’ current counsel, therefore, was not unfamiliar with this dispute or Defendant

Banks, and he was involved in this dispute long before this case was filed on October 27, 2021.

(Doc. No. 1.) Accordingly, there is no reason why Defendants’ counsel needed additional time to

understand and respond to discovery requests issued on April 8, 2022. (Doc. No. 55-1.) There

certainly is no justifiable (or other) excuse for Defendants’ counsel’s failure to produce documents

compelled by this Court on November 9, 2022 (Doc. No. 69), and/or his failure to meet-and-confer

as required by the Court’s 2/3/23 Order (Doc. No. 96), even if Defendants’ counsel was limited by

a Dallas-area ice storm in late January 2023.

                                         CONCLUSION

       WHEREFORE, for the reasons set forth herein, Plaintiff respectfully requests that this

Honorable Court enter an order: (a) including Defendants’ non-compliance with the Court’s 2/3

Order as an independent instance of contempt; (b) ordering an expedited briefing schedule on

Plaintiff’s Motion for Sanctions; (c) sanctioning Defendants under Rule 37(b)(2) as requested in

the Motion for Sanctions and herein; and (d) granting such further relief as the Court deems just

and appropriate.

 Dated: March 7, 2023                                Respectfully submitted,

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